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                                                   LAW OFFICES




 DAVID Z , CHE:SNOFF, CHARTERED    AN ASSOCIA'TION o, PRO,-EIISIONAL CORPORATIONS            TELEPHONE
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                                                 May 28, 2024

     Via Email

     LeoJ. Wise
     Principal Senior Assistant Special Counsel
     Derek E. Hines
     Senior Assistant Special Counsel
     Sean F. Mulryne
     Christopher M. Rigali
     Assistant Special Counsels
     950 Pennsylvania Avenue NW, Room B-200
     Washington, D.C. 20530

     Re: United States v. Smimov
     Case No. 2:24-cr-00091-ODW

     Dear Counsel:

            Through this letter, we are following up on our March 5, 2024, written request for
     discovery. While we maintain pursuit of the requests made therein, and have not
     received all discovery requested, this letter is specific to the historical cooperation of Mr.
     Smirnov with the government. Specifically, we have not received all Form FD1023,
     and/or any other reports/documentation related to Mr. Smirnov's cooperation with the
     FBI or any other agency of the United States Government. This request was not limited
     in time frame. Further, we have not received evidence of Mr. Smirnov's communication
     with his FBI Handler, other than the limited number of Form FD 1023 that were
     provided. For example, we had requested full and complete copies of the FBI Hander's
     cell phone and email communications with Mr. Smirnov, including text messages and
     application based messages, for the entirety of their relationship. In addition, we had
     requested any records of compensation/payments made to Mr. Smirnov by the
     government, including the Department of Justice and/or FBI and/or any other law
     enforcement or government agency.

            While there were numerous other requests that were made in our initial discovery
     demand, which have not been satisfied, our trial preparation is being stalled as a result of
     the government's failure to produce the above stated discovery.
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          Mr. Smimov reserves all rights and remedies.

          Thank you for your attention to this matter.

                                                    Sincerely,

                                                    CHESNOFF & SCHONFELD



                                                    David Z. Chesnoff, Esq.
                                                    Richard A. Schonfeld, Esq.
